                          UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF NORTH CAROLINA
                                   CHARLOTTE DIVISION


UNITED STATES OF AMERICA                  )                  Case No.: 3:12-CR-239
                                          )
      vs.                                 )
                                          )
CARRIE TYSON (13)                         )
_________________________________________ )

                                            ORDER

       THIS MATTER IS BEFORE THE COURT sua sponte regarding Defendant’s Motion

Requesting Waiver to Represent Herself (Doc. No. 527). On March 18, 2014, the Court

conducted a hearing on this and other matters. At the hearing, Defendant stated that she was in

the process of retaining counsel. Subsequently, the Court reserved judgment on the Defendant’s

Motion until such time as Defendant was able to retain counsel or concluded that she wished to

represent herself (Doc. No. 537). Then, on July 7, 2014, the Court directed Defendant to provide

the Court with an update regarding her efforts to retain counsel within fourteen days (Doc. No.

631). She has failed to do so.

       IT IS THEREFORE ORDERED that the Court will conduct a hearing on this matter on

August 27, 2014 at 3 p.m. in Courtroom 3 in the Charlotte Division. At the hearing, the Court

will inquire as to whether Defendant wishes to retain counsel or represent herself.

       IT IS FURTHER ORDERED that the Clerk of Court certify copies of this order to the

Bureau of Prisons, to the U.S. Marshal Service, and to the Defendant.

SO ORDERED.

 Signed: August 7, 2014




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